                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                AT GREENEVILLE


UNITED STATES OF AMERICA                                   )
                                                           )        No. 2:07-CR-10
V.                                                         )        District Judge Greer
                                                           )        Magistrate Judge Inman
KENNETH R. FRAZIER                                         )
ALLEN EUGENE FRAZIER                                       )
GEORGE RAY HICKS, and                                      )
ERNEST ARROWOOD, JR.                                       )
JAMES WILLIAM RUSSELL                                      )

                         REPORT AND RECOMMENDATION

       The defendant, Ernest Arrowood, Jr., has filed a “Motion to Dismiss Count One Of

The Indictment” (Doc. 48). The defendant Hicks moved to join in that motion, which the

court allowed.1 Likewise, the defendant Allen Frazier moved to join in the motion to

dismiss, which the court also allowed.2 Similarly, the defendant William Russell filed a

motion to adopt Arrowood’s motion to dismiss, which the court granted.3

       The defendant Kenneth Frazier also filed a “Motion to Dismiss Count One Of The

Indictment” (Doc. 54), based upon the same argument as his co-defendant, Ernest Arrowood.

Thus, in effect there are five identical motions to dismiss Count One.

       These motions have been referred to the United States Magistrate Judge under the


       1
        See, Order, Doc. 95.
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        See, Order, Doc. 94.
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           The orders granting permission to defendants Kenneth Frazier and William Russell to
join in Arrowood’s motion to dismiss provided that the court’s ultimate ruling on Arrowood’s
motion to dismiss would apply equally to them.


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standing orders of this Court and pursuant to 28 U.S.C. § 636(b). An evidentiary hearing was

held on April 4, 2007.

       The relevant federal statute is 18 U.S.C. § 1955, which reads in pertinent part as

follows:

              (a) Whoever conducts, finances, manages, supervises, directs,
              or owns all or part of an illegal gambling business shall be fined
              under this title or imprisoned not more than five years, or both.
              (b) As used in this section–
              (1) "illegal gambling business" means a gambling business
              which--
                   (i) is a violation of the law of a State or political subdivision
              in which it is conducted;
                   (ii) involves five or more persons who conduct, finance,
              manage, supervise, direct, or own all or part of such business; and
                     (iii) has been or remains in substantially continuous
              operation for a period in excess of thirty days or has a gross
              revenue of $2,000 in any single day.


       Thus, to trigger application of the federal gambling statute, the charged offense must

be a “gambling business” which is a violation of state law. In other words, for 18 U.S.C. §

1955 to apply, there must be a predicate state gambling offense.

       Count 1 of the Superceding Indictment4 alleges as follows:

              From on or before December 20, 2002, and continuously
              thereafter until on or about June 11, 2005, in the Eastern District
              of Tennessee, the defendants, KENNETH R. FRAZIER,
              ALLEN EUGENE FRAZIER, GEORGE RAY HICKS,
              ERNEST ARROWOOD, JR., and JAMES WILLIAM


       4
        Doc. 69.

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              RUSSELL, and others known and unknown, unlawfully,
              willfully and knowingly did conduct, finance, manage,
              supervise, direct and own all or part of an illegal gambling
              business, said illegal gambling business involving cockfighting
              and gambling on such fights in violation of the laws of the State
              of Tennessee (Sections 39-17-502, et seq. and 39-14-203,
              Tennessee Code), in which said business was conducted; which
              illegal gambling business involved, during the period aforesaid,
              five or more persons who conducted, financed, managed,
              supervised, directed and owned all or a part thereof; and which
              gambling business remained in substantially continuous
              operation for a period in excess of thirty days and has had gross
              revenues of $2,000.00 or more in a single day, all in violation of
              Title 18, United States Code, Sections 1955 and 2.


       As can be seen, the United States alleges that the predicate offenses for purposes of

18 U.S.C. § 1955, i.e., the necessary antecedent violations of state law, are § 39-17-502 and

39-14-203 of the Tennessee Code. Section 39-17-502 is Tennessee’s “gambling statute”:

“(a) a person commits an offense who knowingly engages in gambling.” The preceding

Section, 39-17-501, defines “gambling”:


              As used in this part, unless the context otherwise requires:

              (1) Gambling is contrary to the public policy of this state and
              means risking anything of value for a profit whose return is to
              any degree contingent on chance, or any games of chance
              associated with casinos, including, but not limited to, slot
              machines, roulette wheels and the like. * * *


       Section 39-14-203 of the Tennessee Code is part of what is generally referred to as

Tennessee’s “animal cruelty law.” That statute reads as follows:


              § 39-14-203. Fighting or baiting exhibitions

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              (a) It is unlawful for any person to:

              (1) Own, possess, keep, use or train any bull, bear, dog, cock or
              other animal, for the purpose of fighting, baiting or injuring
              another such animal, for amusement, sport or gain;

              (2) Cause, for amusement, sport or gain, any animal referenced
              in subdivision (a)(1) to fight, bait or injure another animal, or
              each other;

              (3) Permit any acts stated in subdivisions (a)(1) and (2) to be
              done on any premises under the person's charge or control, or
              aid or abet those acts; or

              (4) Be knowingly present, as a spectator, at any place or
              building where preparations are being made for an exhibition for
              the fighting, baiting or injuring of any animal, with the intent to
              be present at the exhibition, fighting, baiting or injuring.

       Defendants argue that baiting or operating a cockfighting pit or arena is not included

within the definition of “gambling” under Tenn. Code Ann. §39-17-501. Defendants also

argue that a violation of the animal cruelty statute, Tenn. Code Ann. § 39-14-203, does not

constitute a predicate offense under 18 U.S.C. § 1955.

       Defendants’ last argument will be addressed initially, i.e., that the animal cruelty

statute will not trigger an application of the federal gambling statute. With this argument the

court agrees. The federal statute refers to “illegal gambling businesses” in both subpara-

graphs (a) and (b). Subparagraph (b) explicitly defines an “illegal gambling business” as a

gambling business which is a violation of state law. If one completely puts aside Tenn. Code

Ann. § 39-17-501, the gambling statute, and looks only to the animal cruelty statute as the



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potential predicate offense, there indeed could be no federal offense simply because the

federal statute refers to a gambling business. Staging an animal fight is barbaric, but it is not

per se gambling.

       However, Tenn. Code Ann. § 39-17-501 cannot be ignored simply because it exists.

It defines gambling as “risking anything of value for a profit,” i.e., betting money, on an

outcome controlled by chance. Gambling on the outcome of a cockfight, for reasons

discussed later in this report, is risking money on an outcome based purely on chance. Even

if Tennessee’s animal cruelty statute cannot form the predicate state offense under 18 U.S.C.

§ 1955, wagering on the outcome of a cockfight is undeniably embraced within Tenn. Code

Ann. § 39-17-501. In short, the reference in Count 1 to Tenn. Code Ann. § 39-14-203, the

animal cruelty statute, was both unnecessary and erroneous, but that in no way affects the

validity of Count 1. At the most, the reference to Tenn. Code Ann. § 39-14-203 should be

simply redacted from Count 1.

       As already mentioned, the defendants argue that cockfighting does not come within

the provisions of Tennessee’s gambling statute, Tenn. Code Ann. § 39-17-501. In this

regard, they argue that cockfighting is a sport and not a game of chance. They argue that

cockfighting is not explicitly mentioned in the gambling statute and therefore it is not

gambling. Somewhat in the same vein, they argue that the statute refers to games of chance

associated with casinos, slot machines, “and the like,” and that the first part of subsection 1

must be construed as referring only to slot machines and similar forms of gambling. This

argument, respectfully, is incorrect. For the sake of convenience, the words of the statute are

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again reproduced:

               (1) Gambling is contrary to the public policy of this state and
               means risking anything of value for a profit whose return is to
               any degree contingent on chance, or any games of chance
               associated with casinos, including, but not limited to, slot
               machines, roulette wheels and the like. (boldface type supplied).

       It is important to note the statute’s use of the disjunctive “or.” There is no logical or

semantical reason to limit the scope of the first part of that sentence by the language in the

second part.     A period could easily have been put after the word chance and the second

part of the sentence written in this manner: “Likewise, risking anything of value for a profit

on any games of chance associated with casinos . . . .” If, instead of the word or, the Tenn-

essee Legislature had used the words “such as,” or “including,” then the defendants’

argument would have more merit. But the word or does not remotely suggest the same

meaning as “such as.” Again, or is disjunctive, and the first half of the sentence in paragraph

(1) is free-standing and independent of the second half.

       Somewhat in a similar vein, the defendants argue that (1) in Tennessee cockfighting

is a sport, and (2) Tenn. Code Ann. § 39-17-501 does not include “sports” as a gambling

activity. With regard to the first premise of defendants’ argument - that cockfighting is

classified as a sport in Tennessee - defendants rely upon State of Tennessee v. Nashville

Baseball Ass’n, 211 S.W. 357 (Tenn. 1919). As the style of this case suggests, the issue was

baseball; specifically, whether a game of professional baseball could be played on Sundays

in the city of Nashville, Tennessee’s “blue law” notwithstanding. The Nashville Baseball

Association case cannot be read as a judicial declaration that cockfighting in Tennessee is a

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sport. But even if it could be so construed, it makes no difference, since gambling on the

outcome of sporting events violates Tennessee’s gambling statute. The athletes themselves,

who are competing in any athletic event, are not gambling, even if they are professional

athletes who are competing for a valuable purse. Professional golf comes immediately to

mind; the PGA tour has an annual tournament in Memphis that pays out a significant purse.

The professional golfers are not gambling by competing in that because, from their

perspective, the outcome is based upon their skill and effort, not by mere chance. The same

would be true of boxing, football, basketball, and any other sport one would care to name.

On the other hand, it undeniably is illegal for spectators to bet on the outcomes of those same

sporting events because those outcomes, from the perspective of the spectators, is based

purely on chance. Does it follow that the University of Tennessee, by providing a football

stadium or basketball arena for its teams is operating an illegal gambling business because

many spectators bet on the outcome of the games? Obviously, the answer is no, since the

University fields its athletic teams, and provides facilities in which those athletic teams play,

for a purpose other than gambling. But, if an individual were to furnish a venue solely for

the purpose of taking bets on sporting events,5 then that person would be guilty of conducting

an illegal gambling business in Tennessee. At this point it may be asked: Is owning or

operating a cockfighting pit more akin to the University’s operation of Neyland Stadium, or

is it more akin to the bookie who takes bets on sporting events across the country like the


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        Like the pool room that flourished in downtown Morristown for many years during this
magistrate judge’s youth. (And, no, he never entered that establishment.).

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Morristown pool room? The Tennessee courts long ago answered this question:

               Was the defendant guilty of an indictable offence, is the
               question. Is the act of cock-fighting for money, or other
               valuable thing, gaming? There can be no doubt of this.
               Definition in the Act of 1799, Ch. 8, Sec. 2, clearly embraces it.
               By that Act, “any game or match of hazard or address for money
               or other valuable thing” is gaming.

Johnson v. The State, 36 Tenn. 614, 1857 WL 2540 at *4 (Tenn. 1857).

               How could anyone more effectually promote and encourage a
               game or match of this kind than by not only giving it
               countenance by his presence, but actually paying his money to
               support and sustain it? The preparations are made by the
               principal offender; notice is given of the time and place; the
               public are called upon to attend and pay money for the privilege
               of participating in the enjoyment of the sport; and the defendant
               accepts the invitation, and contributes his money to the extent of
               the fee demanded. Is he not actively and efficiently aiding,
               abetting, and encouraging the unlawful thing?
Id.
               If one species of this vice could be more low, groveling, and
               despicable than another, it would seem to be [cockfighting]. It
               adds barbarity and cruelty to the other attributes of ordinary
               gaming. The age has passed when it could be tolerated as a
               sport, much less as a mode of gambling. Regardless of what
               other jurisdictions may have held the courts of this state have
               long deemed cockfighting to fall within the ban of statutory
               prohibitions upon gambling.6
Id.

       More recently, in 1984, the Supreme Court of Tennessee declared cockfighting to be

a gambling enterprise. Although the Indictment in that case charged the defendants with

being present at a cockfight in violation of state law, the court made this statement regarding


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        This statement was penned in 1857. Precisely 150 years later, the “sport” of
cockfighting continues, and there are those who still insist that it is an acceptable pastime.

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gambling and cockfighting:

              [T]he courts of this state have long deemed cockfighting to fall
              within the bounds of statutory prohibitions upon gambling.

              Over one hundred forty years ago in the case of Bagley v. State,
              20 Tenn. 486 (1840), this Court held that cockfighting was
              gaming, and that betting thereon was prohibited under the
              gaming statutes of the state.

State v. Tabor, 678 S.W.2d 45 at 47.

              The statutes under consideration [that prohibit attendance at
              cock fights], of course, are not gaming statutes, and appellees
              are not being prosecuted for gambling. The statutes, however,
              reflect the continuation, broadening and a modernization of the
              public policy of this jurisdiction going far back into the
              nineteenth century.
Id.

       Thus, it is seen that Tennessee has long and consistently held that cockfighting is

“gambling.” And, in anticipation that the defendants might suggest that Tennessee’s

gambling statute in 1984 was different than it is now, it is clear that the statute in existence

in 1984 was remarkably similar to the present statute:

              (3). “Gambling” means risking any money, credit, deposit, or
              other form of value for gain contingent in whole or part upon
              luck, chance or the operation of a gambling device, but does not
              include: bona fide contests of skill, speed, strength or endurance
              in which awards are made only to entrants or the owners of
              entries; bona fide business transactions which are valid under
              the law of contracts; and other acts or transactions expressly
              authorized by law; . . . .

Tenn. Code Ann. § 39-6-601 (Repealed 1989).

       Clearly, the statutory definition of gambling in 1984, the date of the Tabor decision,


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was identical in substance to the current statute, Tenn. Code Ann. § 39-17-501.

       In conclusion, cockfighting is gambling under Tennessee law; a number of Tenn-

essee cases so hold, and there are none to the contrary that can be found. It follows,

therefore, that the defendants’ alleged operation of a cockfighting pit constituted a gambling

business under Tenn. Code Ann. § 39-17-501, as a result of which the defendants violated

Tenn. Code Ann. § 39-17-502. This violation provides the necessary predicate offense under

18 U.S.C. § 1955.

       For the foregoing reasons, its is respectfully recommended that defendants’ motions

to dismiss Count One of the Indictment be denied.

       Any objections to this report and recommendation must be filed within ten (l0) days

of its service or further appeal will be waived. 28 U.S.C. § 636(b)(1)(B) and (C). United

States v. Walters, 638 F.2d 947-950 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985).

       Respectfully submitted,
                                                      s/ Dennis H. Inman
                                                  United States Magistrate Judge




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